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                           UNITED STATES DISTRICT COURT
                      CENTRAL DISTRICT OF CALIFORNIA
                                 EASTERN DIVISION



  TERRENCE HAWKINS,                       No. ED CV 20-00567-DMG (DFM)

              Plaintiff,                  Order Accepting Report and
                                          Recommendation of United States
                 v.                       Magistrate Judge

  DR. LOH et al.,

              Defendants.



       Pursuant to 28 U.S.C. § 636, the Court has reviewed the pleadings,
 records, and files herein, along with the Report and Recommendation of the
 assigned United States Magistrate Judge. No objections to the Report and
 Recommendation were filed, and the deadline for filing such objections has
 long passed. The Court accepts the findings, conclusions, and
 recommendations of the United States Magistrate Judge.
       IT IS THEREFORE ORDERED that this action be dismissed without
 prejudice.



  DATED: November 3, 2021                  ________ ____________        ___
                                           DOLLY M. GEE
                                           United States District Judge
